                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF NEW YORK
                                        NEW YORK CITY DIVISION
---------------------------------------------------------------x
In re                                                          :
                                                               : Case No. 21-10255-scc
BLUE SPRUCE CORPORATION, et al.,                               :
                                                               :
                                                               : CHAPTER 11
Debtors.                                                       : (Joint Administration Requested)
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               NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE

      Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the following

qualified individual as Subchapter V trustee in the above-captioned case:

                                        Geron Yann, Esq.
                                       Subchapter V Trustee
                                  c/o Geron Legal Advisors LLC
                                370 Lexington Avenue, Suite 1101
                                      New York, NY 10017
                                         (646) 560-3224
                                 ygeron@geronlegaladvisors.com

      The trustee’s verified statement of disinterestedness and anticipated rate of compensation

is attached to this notice.

Date: February 10, 2021                       William K. Harrington
                                              United States Trustee for Region 2
                                              U.S. Department of Justice
                                              Office of the United States Trustee
                                              201 Varick Street, Room 1006
                                              New York, New York 10014


                                              By: /s/ Shannon Anne Scott______________
                                                      Shannon Anne Scott
                                                      Trial Attorney
